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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                                                 )
         In re:                                                  )     Chapter 11
                                                                 )
                                             1
         Hospital Acquisition LLC, et al.                        )     Case No. 19-10998 ( )
                                                                 )
                                  Debtors.                       )     Joint Administration Requested
                                                                 )

                      DECLARATION OF JAMES MURRAY, CHIEF EXECUTIVE OFFICER
                            OF HOSPITAL ACQUISITION LLC, IN SUPPORT OF
                           CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

                  I, James Murray, hereby declare under penalty of perjury:

                  1.      I am the chief executive officer of Hospital Acquisition LLC (“HAL”), a limited

         liability company organized under the laws of the state of Delaware and direct or indirect parent

         of each of the other above captioned debtors and debtors in possession (collectively, the

         “Debtors”) and a member of the HAL board of directors. To enable the Debtors to minimize the

         adverse effects of these Chapter 11 Cases (as defined below) on their business, the Debtors

         intend to request various types of relief in “first day” applications and motions (collectively, the




                  1
                     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: Hospital Acquisition LLC (3232); Hospital Acquisition Intermediate Sub LLC (9609);
         LifeCare Holdings LLC (f/k/a Hospital Acquisition Sub I LLC) (6612); LifeCare Behavioral Health Hospital of
         Pittsburgh LLC (9835); New LifeCare Hospitals LLC (7959); New LifeCare Hospitals of Dayton LLC (2592); New
         LifeCare Hospitals of Milwaukee LLC (2428); New LifeCare Hospitals of South Texas LLC (4237); Hospital
         Acquisition Sub II LLC (7920); New LifeCare Management Services LLC (4310); New LifeCare REIT 1 LLC
         (9849); New LifeCare Hospitals of Mechanicsburg LLC (0174); New Pittsburgh Specialty Hospital LLC (7592);
         LifeCare Vascular Services, LLC (5864); New LifeCare Hospitals of North Texas LLC (4279); New LifeCare
         Hospitals of Chester County LLC (1116); New LifeCare Hospitals of Northern Nevada LLC (4534); New San
         Antonio Specialty Hospital LLC (2614); New LifeCare Hospitals of North Carolina LLC (7257); New LifeCare
         Hospitals of Pittsburgh LLC (8759); New NextCare Specialty Hospital of Denver LLC (6416); Hospital Acquisition
         MI LLC (4982); LifeCare Pharmacy Services LLC (3733); New LifeCare REIT 2 LLC (1315); New LifeCare
         Hospitals at Tenaya LLC (6891); and New LifeCare Hospitals of Sarasota LLC (8094). The Debtors’ address is
         5340 Legacy Drive, Suite 150, Plano, Texas 75024.


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                                     2
         “First Day Pleadings”).         I submit this declaration in support of the Debtors’ (a) voluntary

         petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy

         Code”) and (b) First Day Pleadings.              I am authorized to submit this declaration (the

         “Declaration”) on behalf of the Debtors.

                 2.      I have held my current position with the Debtors since April 1, 2017 and have

         served as a member of the Debtors’ board of directors since April 22, 2016. Prior to that, I

         served as Chief Operating Officer of Humana Inc. I was employed by Humana for twenty-seven

         (27) years in various management roles. Prior to that, I was employed by Coopers & Lybrand

         for fourteen (14) years. As a result of my tenure with the Debtors, my review of relevant

         documents, and my discussions with other members of the Debtors’ management teams, I am

         familiar with the Debtors’ day-to-day operations, business affairs, and books and records.

         Except as otherwise noted, I have personal knowledge of the matters set forth herein and, if

         called as a witness, would testify competently thereto. Except as otherwise stated, all facts set

         forth in this Declaration are based on my personal knowledge, my discussions with other

         members of the Debtors’ senior management, my review of relevant documents, or my opinion,

         based on my experience and knowledge of the Debtors’ operations and financial conditions. In

         making this Declaration, I have relied in part on information and materials that the Debtors

         personnel and advisors have gathered, prepared, verified, and provided to me, in each case under

         my ultimate supervision, at my direction, and/or for my benefit in preparing this Declaration.

                 3.      This Declaration is divided into two parts. Part I of this Declaration provides

         background information about the Debtors, their business operations, their corporate and capital


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                    Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in the
         applicable First Day Pleadings.


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         structures, and the circumstances surrounding the commencement of these Chapter 11 Cases.

         Part II sets forth the relevant facts in support of each of the First Day Pleadings.

                                                       PART I

                                                  BACKGROUND

         A.     The Debtors’ Business

                4.      The Debtors are a leading operator of long-term acute care (“LTAC”) hospitals in

         the United States. The Debtors’ predecessor was founded in 1992 and began its operations in

         1993 with the opening of its first hospital in Shreveport, Louisiana. The Debtors were founded

         by a clinician who recognized an opportunity to provide patients requiring acute care with better

         treatment than was available in general acute care hospitals.          The Debtors expanded and

         contracted their business over the next twenty-five (25) years.

                5.      Through its operating subsidiaries, the Debtors provide a full range of clinical

         services to patients with serious and complicated illnesses or injuries requiring extended

         hospitalization. Patients are admitted to the Debtors’ facilities primarily from general acute care

         hospitals. Many of the Debtors’ patients suffer from one or more respiratory, neuromuscular,

         circulatory, renal, hepatic, cardiac or oncologic conditions. These conditions require a high level

         of monitoring and specialized care yet may not necessitate the continued services of an intensive

         care unit. The Debtors’ hospitals are designed to accommodate such patients and provide them

         with a higher level of care than a skilled nursing facility or an inpatient rehabilitation facility.

         Substantially all of the Debtors’ revenue derives from the provision of patient services and is

         received through Medicare and Medicaid reimbursements and payments from private payors.




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                 6.      Additionally the Debtors operate a forty-nine (49) bed behavioral health hospital

         in Pittsburgh, Pennsylvania as well as three (3) out-patient wound care centers located within its
                                                                         3
         Plano, Texas, Fort Worth, Texas and Dallas Texas hospitals.

                 7.      As of the Petition Date, the Debtors operate seventeen (17) facilities in nine (9)

         states. This consists of 865 beds in nine (9) freestanding (approximately 67% of the beds) and

         eight (8) hospitals within hospitals facilities (approximately 33% of the beds).

                 8.      The Debtors employ approximately 3,500 people, all but approximately 150 of

         whom are employed at the hospital level and many of whom are registered or licensed nurses and

         respiratory therapists. While the Debtors employ several physicians, including a physician

         consultant as their National Medical Director, they do not employ the doctors that render

         services to its patients. The doctors are independent practitioners and, other than physicians who

         are compensated at an hourly rate for providing overnight coverage and other regular

         administrative services of the Debtors’ hospitals, generally provide care to the Debtors’ patients

         on a fee for services basis billing third-party payors directly for their services.

                 9.      In addition to the LTAC facilities, certain non-Debtor affiliates (together with the

         Debtors, the “Company”) own and operate home health care agencies (“Home Healthcare”)

         with locations in the states of Texas, Florida and Nevada. Unless otherwise noted herein, the

         Home Healthcare agencies and the Debtors’ hospital facilities are operated completed

         independent of each other and the Company does not currently anticipate that the Home

         Healthcare agencies will seek chapter 11 protection.



                 3
                   Debtor LifeCare Holdings LLC is the sole member of Debtor LifeCare Vascular Services, LLC
         (“Vascular”). Vascular holds a 33.3% membership interest in non-Debtor Neovascular Management Group, LLC
         (“Neovascular”). Neovascular is a non-operating joint venture.


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         B.     The Debtors’ Predecessor

                10.     In 2012, LCI Holdings found themselves capital constrained. In an effort to

         address their liquidity concerns, on December 11, 2012, LCI Holdings filed chapter 11 petitions

         with the United States Bankruptcy Court for the District of Delaware, which were jointly

         administered under Case No. 12-13319 (KG). The effects of Hurricane Katrina coupled with

         regulations promulgated by certain regulators that substantially reduced reimbursement rates for

         services caused LCI Holding to see a significant revenue reduction. A series of regulations

         adopted to control health care spending in the LTAC space also frustrated growth efforts.

         Although cost reduction measures were put in place, LCI Holding could not combat Katrina-

         related losses and lost growth opportunities. See Declaration of Phillip B. Douglas in Support of

         Chapter 11 Petitions and First Day Pleadings at ¶14-18, Case No. 12-13319 (KG) (Bankr. D.

         Del. Dec. 11, 2012), Docket No. 13.

                11.     After running a marketing and sales process prepetition and determining that no

         bid provided consideration equal to or in excess of their obligations under their prepetition credit

         agreement, LCI Holdings effectuated a sale of substantially all their assets to the Debtors. See

         Order (I) Authorizing the Sale of Substantially All of the Debtors Assets Free and Clear of All

         Liens, Claims, Encumbrances and Interests; (II) Authorizing the Assumption and Assignment of

         Certain Executory Contracts and Unexpired Leases; and (III) Granting Certain Related Relief,

         Case No. 12-13319 (KG) (Bankr. D. Del. Apr. 4, 2013), Docket No. 617.

                12.     With substantially all of the assets sold, the bankruptcy court entered orders

         dismissing certain of LCI Holding’s chapter 11 cases. See Case No. 12-13319 (KG) (Bankr. D.

         Del), Docket Nos. 1255 (May 8, 2014), 1284 (June 11, 2014), 1367 (Sept. 10, 2014). On

         September 16, 2016, upon motion of the United States Trustee, all of LCI Holding’s remaining


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         chapter 11 cases were also dismissed. See Case No. 12-13319 (KG) (Bankr. D. Del. Sept. 2016),

         Docket No. 1760. Those remaining cases were closed on October 28, 2016.

         C.     The Debtors’ Corporate and Capital Structure

                13.      A corporate organization chart depicting the ownership structure of the Debtors is

         attached hereto as Exhibit A. Substantially all of the common stock of HAL is owned by Blue

         Mountain Capital, Monarch Alternative and Twin Haven.

                14.      As of the Petition Date, the Debtors’ total consolidated long-term debt obligations

         were approximately $185 million, consisting of, among other things institutional loans and

         secured note.

                15.      In August 2018, LifeCare Holdings LLC (“LifeCare”) (a) refinanced its then-

         existing revolving facility with a $40 million revolving facility by entering into a Credit

         Agreement, dated as of August 10, 2018 (as amended, supplemented or otherwise modified, the

         “Prepetition Revolving Credit Agreement”), by and among LifeCare, each of the Debtors party

         thereto, the lenders party thereto (the “Prepetition Revolving Lenders”) and White Oak

         Healthcare Finance, LLC, as administrative agent and collateral agent (in such capacities, the

         “Prepetition Revolving Agent”), (b) entered into a Priming Term Loan Credit Agreement, dated

         as of August 10, 2018 (as amended, supplemented or otherwise modified, the “Prepetition

         Priming Term Loan Credit Agreement”), by and among LifeCare, Debtor Hospital Acquisition

         Intermediate Sub LLC (“HAI Sub”), the lenders party thereto (the “Prepetition Priming Term

         Loan Lenders”) and Glas Trust Company LLC, as administrative agent and collateral agent (in

         such capacities, the “Prepetition Priming Term Loan Agent”) pursuant to which LifeCare

         borrowed $7.5 million and which provided a term loan commitment of an additional $7.5 million

         and (c) amended their then-existing term loan credit facility under a Credit Agreement, dated as

         of May 31, 2013 (as amended, supplemented or otherwise modified, the “Prepetition Term Loan
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         Credit Agreement”) among LifeCare, HAI Sub, the lenders party thereto (the “Prepetition Term

         Loan Lenders”), Seaport Loan Products LLC, as administrative agent (in such capacity, the

         “Prepetition Term Loan Administrative Agent”) and Wilmington Trust, National Association,

         as co-administrative agent and collateral agent (in such capacities, the “Prepetition Term Loan

         Collateral Agent” and, together with the Prepetition Term Loan Administrative Agent, the

         “Prepetition Term Loan Agent”) (collectively, the “August 2018 Transactions”).

                   16.   Prepetition Revolving Credit Agreement. Prior to August, 2018, LifeCare and the

         other Debtors were party to a $20 million revolving credit facility which matured by its terms in

         May 2018. Pursuant to the August 2018 Transaction, LifeCare refinanced the debt under such

         revolving credit facility with the Prepetition Revolving Credit Agreement.

                   17.   As of the Petition Date, there was approximately $23.9 million outstanding under

         the Prepetition Revolving Credit Agreement, plus issued but undrawn letters of credit of

         approximately $9.4 million. These obligations are secured by substantially all of the Debtors’

         assets.

                   18.   Prepetition Priming Term Loan Credit Agreement. As noted, in connection with

         the August 2018 Transactions, LifeCare entered into the Prepetition Priming Term Loan Credit

         Agreement governing a $15 million secured term loan credit facility constituting (a) an initial

         $7.5 million term loan at closing and (b) a commitment to borrow an additional $7.5 million of

         term loans after closing.    Each of LifeCare’s subsidiaries (other than certain subsidiaries

         designated as non-guarantor subsidiaries under the Prepetition Priming Term Loan Credit

         Agreement that includes Home Healthcare) guaranty LifeCare’s obligations under the Prepetition

         Priming Term Loan Credit Agreement.




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                19.     As of the Petition Date, there was approximately $7.7 million outstanding under

         the Prepetition Priming Term Loan Credit Agreement.                 This obligation is secured by

         substantially all of the Debtors’ assets.

                20.     Prepetition Term Loan Credit Agreement. Prior to the August 2018 Transactions,

         the term loan credit facility under the Prepetition Term Loan Credit Agreement matured by its

         terms in November 2018. Pursuant to the August 2018 Transactions, LifeCare amended the

         Prepetition Term Loan Credit Agreement in order to, among other things, extend the maturity

         date to November 2021, reduce the cash interest payments and amend the financial covenants

         under the Prepetition Term Loan Credit Agreement. Each of LifeCare’s subsidiaries (other than

         certain subsidiaries designated as non-guarantor subsidiaries under the Prepetition Priming Term

         Loan Credit Agreement that includes Home Healthcare) guaranty LifeCare’s obligations under

         the Prepetition Term Loan Credit Agreement.

                21.     As of the Petition Date, there was approximately $136.8 million outstanding

         under the Prepetition Term Loan Credit Agreement. This obligation is secured by substantially

         all of the Debtors’ assets.

                22.     Intercreditor Agreements. In connection with the August 2018 Transactions, the

         Debtors entered into (i) an intercreditor agreement, dated as of August 10, 2018 (as amended,

         supplemented or otherwise modified the “ABL Intercreditor Agreement”), by and among the

         Debtors, the Prepetition Revolving Agent, the Prepetition Priming Term Loan Agent and the

         Prepetition Term Loan Agent and (ii) a term loan intercreditor agreement, dated as of August 10,

         2018 (as amended, supplemented or otherwise modified, the “Term Loan Intercreditor

         Agreement” and, together with the ABL Intercreditor Agreement, the “Intercreditor

         Agreements”), by and among the Prepetition Priming Term Loan Agent and Prepetition Term


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         Loan Agent and acknowledge by the Debtors. Pursuant to the ABL Intercreditor Agreement, (a)

         the liens on ABL Priority Collateral (as defined in the ABL Intercreditor Agreement) securing

         the obligations under the Prepetition Revolving Credit Agreement are senior to the liens on ABL

         Priority Collateral securing the obligations under the Prepetition Priming Term Loan Credit

         Agreement and the Prepetition Term Loan Credit Agreement and (b) the liens on Term Facility

         Priority Collateral (as defined in the ABL Intercreditor Agreement) securing the obligations

         under the Prepetition Priming Term Loan Credit Agreement and the Prepetition Term Loan

         Credit Agreement are senior to the liens on the Term Facility Priority Collateral securing the

         obligations under the Prepetition Revolving Credit Agreement. Pursuant to the Term Loan

         Intercreditor Agreement, the liens on the collateral securing the obligations are under the

         Prepetition Priming Term Loan Credit Agreement are senior to the liens on the collateral

         securing the obligations under the Prepetition Term Loan Credit Agreement.

         D.     Events Leading to the Chapter 11 Cases

                23.     While the Debtors have established a market leadership position in post-acute

         care, internal and external factors have lead the Debtors to an unmanageable level of debt service

         obligations and an untenable liquidity position. In 2015, Medicare’s establishment of patient

         criteria to qualify as an LTAC-compliant patient facility led to significant reimbursement rate

         declines over the course of 2015 and 2016 as changes were implemented.                   Average

         reimbursement rates for site neutral patients, representing approximately 57% of 2016 cases, is

         estimated to drop from $23,000 to $9,000 across the portfolio. When rates declined sharply, the

         Debtors were unable to adjust. Further, the number of patients that now qualify by Medicare to

         have services provided in an LTAC setting has declined substantially, resulting in a significant

         oversupply of LTAC beds in the market.


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                24.     In an effort to address decreasing Medicare rates and declining eligible patient

         volumes, the Company focused on four primary areas. First, the Company sought to improve

         their core business by building profitable referral sources and offering world-class care. Second,

         the Company sought to improve the value proposition of its strongest hospitals by adding

         complimentary businesses and/or developing centers of excellences for disease specific

         programs. Third, the Company closed four (4) marginally performing hospitals. Finally, the

         Company sought to implement a multi-faceted growth strategy designed to diversify its

         business’s through home health agency acquisitions and developing offerings designed to utilize

         its post-acute care platform to compete in the evolving value-based health care environment.

                25.     In addition to developing these areas of focus, in August 2018, the Company

         raised additional liquidity and completed an amend and extend transaction described in

         paragraphs 14-21 to provide runway to execute on their business plan, including the continued

         acquisition and expansion of home health businesses (the “August 2018 Transaction”).

                26.     During the course of pursuing the August 2018 refinancing, the Company’s

         combined operations were generally performing in line with their business plan, although certain

         of the Company’s home health agency acquisitions were experiencing unfavorable results.

         Through September 2018, these unfavorable home health agency results were generally offset by

         favorable hospital results. In the fourth quarter of 2018, the Debtors’ hospitals also began to

         experience unfavorable operating results against plan. These unfavorable results coupled with

         the unfavorable home health operations against plan resulted in the Company being unable to

         perform in line with their 2018 business plan.      Due to the anticipated 2018 business plan

         shortfall, the Debtors concluded that they would be unable to meet the debt level covenant levels

         required by the August 2018 Transaction during 2019. As a result, the Company initiated


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         discussions with their lender groups. In conjunction with these discussions, the Company (a)

         closed five (5) additional marginally performing hospitals (b) identified and pursued cost savings

         opportunities to conserve liquidity and (c) engaged Houlihan Lokey Capital, Inc. (“Houlihan

         Lokey”) to explore strategic alternatives including, but not limited to working with the lender

         groups on restructuring the Debtors’ debt and providing access to funds necessary for continued

         operations.

                27.      Beginning in March 2019, Houlihan Lokey began contacting strategic partners

         and financial buyers. As of the Petition Date, Houlihan Lokey has contacted 65 parties, 32 of

         whom have executed non-disclosure agreements with the Debtors. The Debtors are currently in

         advanced discussions regarding a potential sale transaction for some or all of the Debtors’ assets

         with several potential stalking horse bidders. Such bids may also include the assets of certain

         non-Debtor entities. Following the completion of such discussions, the Debtors anticipate that

         by no later than July 15, 2019 they shall have entered into a stalking horse purchase agreement

         and the court shall have entered an order approving the bidding procedures for the sale of the

         Debtors or their assets.

                                                     PART II

                                           FIRST DAY PLEADINGS

                28.      To enable the Debtors to minimize the adverse effects of commencing the Chapter

         11 Cases and to promote a smooth transition into chapter 11, the Debtors have requested various

         relief in the First Day Pleadings. The Debtors have filed the following First Day Pleadings,

         which seek authority to, among other things, obtain debtor-in-possession financing, maintain

         employee morale, preserve vendor relationships, maintain patient confidentiality, and ensure the

         continuation of the Company’s cash management system and other business operations without

         interruption:
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                      (i)      Debtors’ Motion for Entry of an Order Directing the Joint
                               Administration of the Debtors’ Chapter 11 Cases

                      (ii)     Debtors’ Application for Appointment of Prime Clerk LLC as
                               Claims and Noticing Agent Effective as of the Petition Date

                      (iii)    Debtors’ Motion for Entry of Interim and Final Orders
                               (I) Prohibiting Utility Companies From Altering, Refusing, or
                               Discontinuing Utility Services, (II) Deeming Utility Companies
                               Adequately Assured of Future Performance, (III) Establishing
                               Procedures for Determining Additional Adequate Assurance of
                               Payment, and (IV) Setting a Final Hearing Related Hereto

                      (iv)     Debtors’ Motion for Entry of an Order Authorizing Certain
                               Procedures to Maintain the Confidentiality of Patient Information
                               as Required by Applicable Privacy Rules

                      (v)      Debtors’ Motion for Entry of an Order (I) Authorizing But Not
                               Directing, Debtors to (A) Continue Insurance Policies Entered Into
                               Prepetition, (B) Satisfy All Obligations Relating to the Prepetition
                               Insurance Policies, (C) Continue Insurance Premium Financing
                               Agreements, and (II) Granting Related Relief

                      (vi)     Debtors’ Motion for Entry of an Order (I) Authorizing Payment of
                               Certain Prepetition Taxes and (II) Authorizing Financial
                               Institutions to Honor and Process All Related Checks and
                               Electronic Payments Requests

                      (vii)    Debtors’ Motion for Entry of Interim and Final Orders
                               (I) Authorizing the Debtors to (A) Continue Using Existing
                               Centralized Cash Management System, (B) Honor Certain
                               Prepetition Obligations Related to the Use of the Cash
                               Management System, and (C) Maintain Existing Bank Accounts
                               and Check Stock; and (II) Granting Related Relief

                      (viii)   Debtors’ Motion for Entry of an Order Authorizing the Debtors to
                               Maintain, Administer, Modify, and Renew their Refund Program
                               and Practices and Honor Obligations Related Thereto

                      (ix)     Debtors’ Motion for Entry of Interim and Final Orders
                               (I) Authorizing, but not Directing, Debtors to Pay Prepetition
                               Claims of Certain Critical Vendors and (II) Authorizing Financial
                               Institutions to Honor and Process All Related Checks and Transfer
                               Requests

                      (x)      Debtors’ Motion for Entry of an Order (I) Authorizing, but not
                               Directing, Payment of Certain Prepetition Claims of

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                                       Warehousemen and Other Lien Claimants and (II) Granting
                                       Related Relief

                                (xi)   Debtors’ Motion for Entry of Interim and Final Orders
                                       (I) Authorizing the Debtors to (A) Pay Prepetition Employee
                                       Wages, Benefits, and Other Obligations and (B) Continue
                                       Employee Programs and Severance Program and (II) Granting
                                       Related Relief

                29.     I have reviewed each of the First Day Pleadings, and the facts stated therein are

         true and correct to the best of my belief with appropriate reliance on corporate officers and

         advisors. It is my belief that the relief sought in each of the First Day Pleadings is necessary to

         maintain high-quality patient care and uninterrupted business operations, as well constitutes a

         critical element in the successful implementation of the Debtors’ restructuring efforts. It is my

         further belief, with respect to those First Day Pleadings requesting the authority to pay certain

         prepetition claims within the first twenty-one days of the Chapter 11 Cases, that the Debtors have

         narrowly tailored their requests to those circumstances where the failure to pay such claims

         would cause immediate and irreparable harm to the Debtors and their estates. The Debtors,

         therefore, request that the relief requested in each of the First Day Motions be granted.

         A.     Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
                to (A) Continue Using Existing Centralized Cash Management System, (B) Honor
                Certain Prepetition Obligations Related to the Use of the Cash Management System,
                and (C) Maintain Existing Bank Accounts and Check Stock; and (II) Granting
                Related Relief (the “Cash Management Motion”)

                        (a)     The Debtors’ Cash Management System and Bank Accounts

                30.     The Debtors’ business requires the collection, payment, and transfer of funds

         through a number of bank accounts at various banks. In the ordinary course of business and

         prior to the Petition Date, the Debtors maintained a centralized cash management system (the

         “Cash Management System”). Like other large and complex businesses, the Debtors designed

         the Cash Management System to efficiently collect, transfer, and disburse funds generated

         through the Debtors’ operations and to accurately record such collections, transfers, and
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         disbursements as they are made. A detailed description of the Cash Management System is set

         forth below, a demonstrative chart of the Cash Management System is set forth in Exhibit B, and

         a list of bank accounts (collectively, the “Bank Accounts”) are set forth in in Exhibit C. The

         Bank Accounts are held at JPMorgan, Capital One, Citizens Bank, and PNC (collectively, the

         “Banks”).

                31.    The Debtors generate revenue primarily from providing patient services paid by

         Medicare, Medicaid, and certain private payors. All patient receipts are deposited to one of

         seven account receivable lockbox accounts (collectively, the “Lockbox Accounts”), which are

         swept daily into a lockbox concentration account (Account No. *3109) (the “Lockbox

         Concentration Account”).

                32.    The Debtors and the lenders (the “Prepetition Revolving Lenders”) under the

         Debtors’ prepetition revolving credit facility (the “Prepetition Revolving Facility”) agreed that

         all cash held at the Lockbox Concentration Account is swept on a daily basis into an account

         maintained by the agent for the Prepetition Revolving Lenders. In this structure, the Debtors are

         required, pursuant to the Prepetition Revolving Facility, to re-borrow cash from the Prepetition

         Revolving Lenders on an as-needed basis to make disbursements out of the main operating

         account at JP Morgan (Account No. *2163) (the “Operating Account”).

                33.    Three hospitals, LifeCare Hospitals of North Carolina, Pittsburgh, and

         Mechanicsburg, also deposit patient receipts into the Lockbox Accounts and also have accounts

         set up with local banks (Account Nos. *4400, *1859, and *5077) (the “Local Accounts”) for

         depositing cafeteria receipts. The North Carolina hospital’s cash and paper checks related to

         cafeteria receipts are held at the facility and deposited into the local bank account monthly and

         subsequently manually transferred to the Operating Account, generally the following business


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         day. The Debtors have closed the Mechanicsburg facility and the local bank account ending in

         *4400 is currently inactive.

                34.     In addition to receipts described above, the Debtors generate de minimis amounts

         of revenue in various facilities from cafeteria receipts, corporate and facility deposits, and certain

         payment credits (the “Miscellaneous Receipts”). Miscellaneous receipts are deposited daily

         directly into the Operating Account.

                35.     Funds in the Operating Account are manually transferred to two Bank Accounts

         through which the Debtors’ disbursements are funded by check, automated clearing house, and

         wired directly from the Operating Account.          The Debtors maintain separate disbursement

         accounts for payroll-related disbursements to the Debtors’ payroll processor (Account No.

         *4895) (the “Payroll Account”) and vendor payments (Account No. *7687) (the “Cash

         Disbursement Account”). The Payroll Account and the Cash Disbursement Account are zero

         balance accounts that are funded daily by the Operating Account based upon the amount of

         disbursements that the Debtors expect to clear through such accounts.

                36.      The Debtors also maintain six accounts that are independent of the Operating

         Account (collectively, the “Standalone Accounts”). The Standalone Accounts comprise of one

         account that holds resident funds required by law to be available to patients at the Pittsburgh

         skilled nursing facility (Account No. *5172), one account that holds employee assistance funds

         (Account No. *3683), one account to collateralize certain letters of credit (Account No. *0359),

         one zero balance account that is no longer in use (Account No. *0307), and two accounts that

         hold funds to pay deposits as necessary (Account Nos. *0523 and *0515).

                        (b)     Intercompany Transactions

                37.     Prior to the Petition Date, in the ordinary course of business, the Debtors engaged

         in certain limited intercompany transactions and transfers amongst themselves and between
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         themselves and their non-Debtor affiliates (the “Intercompany Transactions”).                 The

         Intercompany Transactions may result in intercompany receivables and payables (the

         “Intercompany Claims”). Specifically, and as further described in the Wages and Benefits

         Motion (as defined below), the Debtors offer health insurance to their employees through a

         program administered by Cigna. As further described in the Wages and Benefits Motion, the

         Debtors are self-insured (subject to a stop-loss policy). The Debtors must maintain a minimum

         balance of $741,000 in a Cigna-held account for the purpose of funding to Cigna amounts owed

         in respect of employee medical claims. This amount represents approximately two weeks of

         such employee medical claims based upon historical averages. Mechanically, Cigna reviews

         employee medical claims and invoices the Debtors for approved claims on behalf of the Debtors.

         On a weekly basis, Cigna automatically pulls the invoiced amount from this account. The

         Debtors then replenish this account, from funds in the Operating Account, with an amount

         sufficient to bring the balance to a minimum of $741,000.

         B.     Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
                to (A) Pay Prepetition Employee Wages, Benefits, and Other Obligations and
                (B) Continue Employee Programs and (II) Granting Related Relief (the “Wages and
                Benefits Motion”)

                        (a)    Overview of Debtors’ Workforce

                38.    As of the Petition Date, the Debtors employ approximately 3,500 people in the

        United States across their various operations (collectively, the “Employees”) on full-time, part-

        time, and pro re nata (as needed) bases, including nurses, therapists, technicians, dietitians, and

        other health professionals, maintenance technicians, business development professionals,

        administrative support and other staff and corporate personnel.

                39.    The Employees perform a variety of critical functions that are required for the

        Debtors to operate and deliver superior patient care, including nursing, speech, physical,


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        respiratory, and occupational therapy, dietary services, medication management, case

        management, housekeeping, accounting (accounts payable, payroll, and billing), administrative

        support, compliance (legal and regulatory), business development, external affairs, financial

        planning and analysis, government sales/contracting, human resources, information technology,

        legal, managed care contracting, network operations and maintenance.

                40.    To supplement their workforce, the Debtors utilize approximately 15 independent

        contractors (collectively, the “Independent Contractors”), although the number of Independent

        Contractors fluctuates based on current needs. The Independent Contractors provide a variety of

        essential functions for the Debtors, including information technology services, managed care

        contracting, clinical services, accounting, revenue cycle support, marketing communications

        support, medical records, case management activities, business development support (including

        working with insurance providers to appeal denials), and other administrative support functions.

        The Debtors also utilize approximately 35 staffing agencies, primarily through the services of

        Vizient, Inc. (“Vizient,” and together with the other staffing agencies, the “Staffing Agencies,”

        and together with the Independent Contractors, the “Supplemental Workforce”), a member-

        driven health care performance improvement company, to supplement their workforce from time

        to time based on current needs. The Staffing Agencies primarily provide skilled nurses that are

        fundamental and critical to the Debtors’ day-to-day operations and ability to provide quality

        patient care. Importantly, Vizient does not fund any money to the local staffing agencies that

        provide nursing staff to the Debtors until Vizient receives payment from the Debtors.

        Accordingly, if the Debtors fail to pay Vizient, the local staffing agencies will not be willing to

        fill the Debtors’ staffing requests and needs.




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                  41.          The skills, knowledge, and understanding of the Employees and the Supplemental

        Workforce with respect to the Debtors’ operations, patient health and safety, and infrastructure

        are essential to maintaining the Debtors’ business as a going concern during these cases. Just as

        the Debtors depend on their workforce to operate their business on a daily basis, those individuals

        also depend on the Debtors. Indeed, the vast majority of these individuals rely exclusively on
                                                                              4
        payments from the Debtors for their basic living necessities.

                               (b)       Overview of the Employee Programs, Severance Program, and Related
                                         Obligations

                   42.         In the ordinary course of business, the Debtors maintain a variety of business

         practices, programs, and policies for their workforce (collectively, as may be modified, amended,

         or supplemented from time to time in the ordinary course of business, the “Employee
                           5
         Programs”). The following table contains descriptions of the significant Employee Programs

         and the Debtors’ estimates of the fees, costs, and expenses, including amounts owed to third-

         party administrators, incident to the Employee Programs (collectively, the “Employee

         Obligations”) that have accrued but remain unpaid as of the Petition Date and, of the unpaid

         Employee Obligations, the amounts due in the ordinary course of business within 21 days of the

         Petition Date.


                                                                                                         Approximate
                                                                                      Approximate
                                                                                                         Amount Due
                                                                                        Amount
                Category                           Description                                            Within 21
                                                                                      Accrued as of
                                                                                                           Days of
                                                                                      Petition Date
                                                                                                         Petition Date
         Employee                    Employee compensation consists of amounts          $4,000,000        $4,000,000

                   4
                 The Debtors are seeking to pay physicians that provide services to the Debtors pursuant to the Critical
         Vendor Motion (as defined herein), filed contemporaneously herewith.
                   5
                       The Employee Programs do not include the Severance Program (as defined below), which is separately
         described.


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         Compensation      owed to the Employees pursuant to their
                           individual terms of employment and under
                           applicable law (as more fully described
                           herein, the “Employee Compensation”).

                           Employee Compensation includes, as
                           applicable, wages and salaries earned in the
                           ordinary course of business, but does not
                           include Severance, Reimbursable Expenses,
                           Bonuses, accrued and unused PTO (each as
                           defined below), or the value of the non-cash
                           benefits described herein.

                           The Debtors have both salaried and hourly
                           Employees, including full-time, part-time,
                           and pro re nata contract (“PRN”)
                           Employees. Part-time Employees are
                           regularly scheduled to work 16-29 hours per
                           week. PRN Employees are not regularly
                           scheduled and average less than 15 hours per
                           week.

                           Employees, both exempt and non-exempt,
                           are paid every two weeks. The Debtors
                           estimate that the average aggregate amount
                           of Employee Compensation is $16,300,000
                           per month. The most recent payroll occurred
                           on May 3, 2019, representing payment for
                           services performed through April 27,
                           2019. As a result, 9 days of prepetition
                           Employee      Compensation—approximately
                           $4,000,000—has accrued but is unpaid as of
                           the Petition Date.

         Payroll Costs     The vast majority of the Debtors’ payroll       $125,000        $100,000
                           obligations are satisfied by direct deposit
                           through the electronic transfer of funds from
                           the Debtors’ payroll department directly to
                           each Employee’s bank account, with the
                           remainder of Employees receiving prepaid
                           paycards. The Debtors handle payroll
                           management internally and outsource the
                           payroll processing operation to Automatic
                           Data Processing (“ADP”). ADP bills the
                           Debtors for its services—approximately
                           $100,000—on a monthly basis. As of the

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                             Petition Date, the Debtors estimate that
                             approximately $125,000 is due to ADP for
                             payroll services that have accrued but remain
                             unpaid.

         Supplemental        To supplement their workforce, the Debtors                  $746,000            $600,000
         Workforce           utilize approximately 15 Independent
         Compensation        Contractors, although the number of
                             Independent Contractors fluctuates based on
                             current needs. On average, the Debtors pay
                             approximately $6,500 per month in
                             compensation to each of their Independent
                             Contractors.

                             The Debtors also utilize the services of
                             approximately 35 Staffing Agencies from
                             time to time to hire nursing staff. In
                             connection therewith, the Debtors pay,
                             among other things, approximately $300,000
                             per month to Vizient and approximately
                             $100,000 per month in aggregate to the other
                             Staffing Agencies.6

         Bonus               Prior to the Petition Date, the Debtors                     $400,000            $150,000
         Programs            maintained discretionary bonus programs
                             (the “Bonus Programs”).

                             Among other things, certain Employees earn
                             referral, business development, sales target,
                             signing, and other bonuses (collectively, the
                             “Bonuses”) in the ordinary course of
                             business, which Bonuses are paid to such
                             Employees annually, quarterly, or on a per
                             pay period basis, as applicable. The amount
                             of the Bonuses varies from pay period to pay
                             period and cannot be predicted with
                             certainty. However, the Debtors estimate



                 6
                    The average hourly rates for nursing staff hired through the Staffing Agencies range from approximately
         $22 to approximately $56. Accordingly, in order for an individual hired through the Staffing Agencies to have a
         prepetition claim for unpaid wages that is above the cap of $13,650 set forth in the Bankruptcy Code, such
         individual would have to have worked, depending on their hourly rate, between 244 and 620 hours since they were
         last paid.


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                             that, as of the Petition Date, approximately
                             $400,0007 in Bonuses have accrued but
                             remain unpaid, and the Debtors’ historical
                             average monthly spend over the past 12
                             months is approximately $425,000 with
                             respect to Bonuses.

                             By the Wages and Benefits Motion, the
                             Debtors are seeking to (i) pay Bonuses to
                             Employees earned prepetition in the ordinary
                             course, with no Employee receiving cash
                             payments of more than $13,650 in the
                             aggregate on account of prepetition
                             Compensation Obligations (as defined
                             herein), unless required by applicable law,
                             subject to entry of the Final Proposed Order,
                             or as otherwise described herein,8 and
                             (ii) continue the Bonus Programs on a
                             postpetition basis.

         Equity              The Debtors historically have maintained a                      $0                  $0
         Incentive Plan      discretionary equity incentive plan (the
                             “Equity Incentive Plan”) to encourage and
                             incentivize Employees to maximize their
                             performance for the benefit of the Debtors’
                             businesses. The Debtors are seeking to
                             continue the Equity Incentive Plan on a
                             postpetition basis by the Wages and Benefits
                             Motion; however, no amounts are currently
                             due under the Equity Incentive Plan.

         Deductions          During each pay period, the Debtors                         $325,000            $325,000
         and Payroll         routinely deduct certain amounts from the
         Taxes               gross pay of Employees, including
                             Employee contributions to retirement
                             savings plans, health savings plans, flexible
                             spending accounts, auto and home insurance
                             premiums,      health     benefits     plans,

                 7
                    For the avoidance of doubt, this amount is exclusive of annual bonus amounts that may have been accrued
         as of the Petition Date but will not be payable until 2020.
                 8
                    By the Wages and Benefits Motion, the Debtors are seeking authority to pay James Murray the aggregate
         amount of prepetition Compensation Obligations that is $14,193, or $543 over the $13,650 amount that would be
         entitled to administrative priority; however, such amount is owed on account of Employee Compensation only, and
         not the result of any Bonus owed to Mr. Murray.


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                            employment insurance, life insurance,
                            disability insurance, garnishments, child
                            support, personal insurance premiums, meal
                            cards, uniform expense reimbursement,
                            technology      reimbursement,       employee
                            assistance fund,9 bankruptcy expenses, and
                            similar    deductions     (collectively,  the
                            “Deductions”), which either the Debtors or a
                            third-party service provider then forwards to
                            the appropriate recipients.

                            The Debtors are required by law to withhold
                            amounts from the gross pay of Employees
                            that are related to federal, state, and local
                            income taxes, including social security and
                            Medicare      taxes,  and     unemployment
                            insurance for remittance to the appropriate
                            taxing and other governmental authorities
                            (collectively, the “Withholdings”). To the
                            extent that any Deductions or Withholdings
                            have been collected and not yet remitted, the
                            Debtors seek authority to remit those
                            amounts.

                            In addition, the Debtors are required by law
                            to pay social security and Medicare taxes
                            and, based on a percentage of gross payroll,
                            additional amounts for federal and state
                            unemployment insurance (the “Employer
                            Payroll Taxes”). The Debtors estimate that,
                            as of the Petition Date, approximately
                            $325,000 in Employer Payroll Taxes have
                            accrued but remain unpaid.

         Reimbursable       The Debtors routinely reimburse Employees              $275,000           $210,000
         Expenses           for certain expenses incurred within the
                            scope of their employment, such as travel
                            and related meals and other eligible costs
                            (the “Business Expenses”). For those
                            Business Expenses that are paid with an
                            Employee’s American Express Corporate
                            Card, the Debtors pay American Express

                 9
                   The employee assistance fund allows Employees to donate accrued PTO to the fund that can then be
         requested for and used by other eligible Employees.


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                            directly on a monthly basis. Employees are
                            required to pay any non-reimbursable
                            charges on the corporate card directly to
                            American Express, and any late charges that
                            result are the individual Employee’s
                            responsibility.

                            The Debtors also directly pay certain
                            providers, on a monthly basis, certain
                            housing and automotive-related costs on
                            behalf of approximately 5 Employees (the
                            “Allowances,” and together with the
                            Business Expenses, the “Reimbursable
                            Expenses”).

                            There is a lag time between the time
                            expenses are incurred and the time an
                            expense is processed and reimbursed, and
                            therefore it is difficult for the Debtors to
                            determine the precise amount of incurred,
                            but not reported, reimbursable expenses at
                            any particular time. Based on the Debtors’
                            historical average monthly spend over the
                            past 12 months, the Debtors estimate that, as
                            of the Petition Date, approximately $275,000
                            in Reimbursable Expenses have accrued but
                            remain unpaid.
                                                                                                               10
         PTO and            The Debtors provide eligible Employees                  $6,000,000            N/A
         Additional         with various leaves of absence (paid and
         Leave              unpaid), including, but not limited to, paid
                            time off (“PTO” and together with Employee
                            Compensation       and     Bonuses,      the
                            “Compensation Obligations”) for vacation,
                            illness, holidays, and personal time, jury
                            duty, bereavement, and family leave.

                            Eligible Employees are able to begin using
                            PTO after completing 90 days of work. The
                            Debtors’ policies provide that the amount of
                            time earned is based on actual non-overtime
                            hours worked (up to 80 hours per pay period

                 10
                    It is anticipated that Employees will continue to earn and use accrued PTO in the ordinary course
         following the Petition Date.


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                             for full-time Employees, and 60 hours for
                             part-time Employees). Employees may carry
                             over unused PTO hours to the next calendar
                             year, provided that the maximum limit is not
                             exceeded.

                             Subject to the Debtors’ PTO policies, the
                             Debtors historically have paid out any
                             remaining PTO balance upon termination of
                             employment.

                             The Debtors estimate that, as of the Petition
                             Date, the aggregate amount of accrued but
                             unused PTO is approximately $6,000,000. A
                             majority, if not all, of such amount is not a
                             current cash pay obligation as Employees are
                             only paid out for accrued but unused PTO
                             upon termination.         The Debtors are
                             requesting authority, but not direction, to
                             honor, in the ordinary course of business, all
                             unused PTO that accrued prior to the Petition
                             Date, but not to make cash payments except
                             upon termination of employment and
                             provided that no Employee will receive cash
                             payments of more than $13,650 in the
                             aggregate on account of prepetition
                             Compensation Obligations, unless required
                             by applicable law, subject to entry of the
                             Final Proposed Order, or as otherwise
                             described herein.

         Health              The Debtors offer eligible Employees a                      $290,000            $290,000
         Benefits Plans      number of benefits programs, including,
                             among other things, self-funded medical,
                             prescription drug coverage, dental and vision
                             plans administered by Cigna, Cigna Dental,
                             and Vision Service Provider, respectively
                             (collectively, the “Health Benefits Plans”).
                             The Debtors estimate that the monthly cost
                             of the Health Benefits Plans, including
                             administrative fees, Stop Loss Insurance,11

                 11
                    Although many of the Medical Benefit Plans are self-funded by the Debtors, the Debtors maintain stop-
         loss insurance to protect against catastrophic or unpredictable losses (the “Stop Loss Insurance”). Cigna provides
         the Stop Loss Insurance at a cost of $12.20 per employee per month. The premium for a given month is generally
                                                                                                             (Continued…)
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                             and the premium for the vision plan, is
                             approximately $274,000.

                             The Debtors offer three medical plans, two
                             of which are high-deductible medical plans
                             (each, an “HDMP”). Employees enrolled in
                             an HDMP may contribute a portion of their
                             compensation into a health savings account
                             (“HSA”) administered by HSA Bank. An
                             HSA allows an Employee to save and pay
                             for qualified health expenses on a pre-tax
                             basis. Participating Employees can make
                             payroll contributions to the HSA up to the
                             maximum amount permitted by the Internal
                             Revenue Service (the “IRS”). In addition,
                             Employees with an HSA are eligible for a
                             base contribution by the Debtors to the HSA
                             and are able to earn additional matching
                             contributions by the Debtors, up to a yearly
                             maximum of $500 (for an Employee-only
                             HDMP) or $1,000 (for a two-person/family
                             HDMP). Employer contributions are funded
                             on a per pay period basis. On an average
                             annual     basis,    the   Debtors     spend
                             approximately $700,000 on account of HSA
                             contributions. The Debtors do not incur any
                             administrative fees to HSA Bank on account
                             of the HSAs.

                             The Debtors also provide eligible Employees
                             with access to a flexible spending account
                             (“FSA”), administered by WageWorks,
                             which can be used to cover incidental
                             medical costs and dependent childcare. The
                             Debtors do not make contributions to the
                             FSAs and do not incur any administrative
                             fees to WageWorks on account of the FSAs.

                             In addition to the foregoing, the Debtors
                             have in place miscellaneous practices,
                             programs, and policies that provide medical
                             and welfare benefits to eligible Employees,
                             including COBRA and an employee

         received and paid during that month. As of the Petition Date, the April and May 2019 premiums with respect to the
         Stop Loss Insurance have not yet been paid.


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                           assistance program (collectively, the “Other
                           Welfare Programs”). The Debtors believe
                           that the Other Welfare Programs are
                           important to maintaining Employee morale
                           and assisting in the retention of the Debtors’
                           workforce.     The monthly cost of such
                           programs for the Debtors is negligible in the
                           context of the Debtors’ aggregate
                           compensation and benefit obligations. The
                           Debtors believe that failing to honor
                           expected benefits under such Other Welfare
                           Programs would have an adverse effect on
                           the Employees.

         Workers’          The Debtors provide workers’ compensation          N/A            N/A
         Compensation      insurance for Employees at the statutorily
                           required level for each applicable state.
                           Additionally, in accordance with state law,
                           the Debtors provide workers’ compensation
                           coverage to the Employees under state-
                           administered       workers’  compensation
                           programs. The Debtors are insured through
                           Century. The Debtors are seeking authority
                           to pay amounts owed on account of workers’
                           compensation premiums by separate motion
                           filed on the Petition Date.

         Life,             The Debtors provide eligible Employees            $67,000        $40,000
         Disability, and   with basic life and long-term disability
         Accident          insurance coverage through Cigna (the
         Insurance         “Basic Insurance”).      The Debtors pay
                           approximately $40,000 per month on
                           account of premiums for the Basic
                           Insurance. As of the Petition Date, the
                           Debtors have not yet paid the April 2019
                           premium with respect to the Basic Insurance.

                           The Debtors also provide eligible Employees
                           with the opportunity to purchase additional
                           insurance coverage through Cigna (the
                           “Supplemental       Insurance”),     including
                           various optional life and accidental death and
                           dismemberment, short-term disability, and
                           buy-up long-term disability. The premiums
                           for the Supplemental Insurance are paid
                           entirely by the electing Employee.

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         401(k) Plan     The Debtors offer eligible Employees the          $29,000        $29,000
                         opportunity to participate in a 401(k) plan
                         (the “401(k) Plan”) administered by Fidelity
                         Investments. Employees who participate in
                         the 401(k) Plan can make pre-tax payroll
                         contributions to their 401(k) accounts up to
                         the maximum amount permitted by the IRS.
                         Each Employee’s 401(k) contributions are
                         deducted     automatically     from     their
                         paychecks. The Debtors match 20% of an
                         Employee’s 401(k) contributions, up to a
                         maximum of 3% of the Employee’s eligible
                         pay (the “401(k) Contributions”). Generally,
                         the 401(k) Contributions are made by the
                         Debtors at each pay period. While the
                         401(k) Contributions will vary by pay
                         period, the Debtors estimate that the annual
                         spend for 401(k) Contributions will be
                         approximately $750,000.

         Tuition         Eligible Employees may receive financial          $44,000        $15,000
         Reimburseme     assistance in furthering their education under
         nt Program      the Debtors’ tuition reimbursement program
                         (the “Tuition Reimbursement Program”).
                         The Tuition Reimbursement Program
                         provides reimbursements up to a maximum
                         of $5,250 in a calendar year for courses
                         related to an Employee’s vocation, but not
                         for continuing education units required to
                         maintain licenses and certification. In 2018,
                         the Debtors paid approximately $205,000 on
                         account of the Tuition Reimbursement
                         Program.

                         Some of the Employees may have incurred
                         expenses in connection with the Tuition
                         Reimbursement Program prior to the Petition
                         Date, but have not yet sought reimbursement
                         therefor. In most, if not all, such instances,
                         the Employees incurred such expenses based
                         on the Debtors’ policies and their eligibility
                         to participate in the Tuition Reimbursement
                         Program.

         Miscellaneous   In addition to the benefit plans described        $42,000        $12,000

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         Benefit              above, the Debtors are currently aware of,
         Programs             and may discover other, de minimis
                              prepetition obligations owed with respect to
                              their Employees, including MetLaw
                              everyday legal services, MetLife Auto &
                              Home       Insurance,    MetLife      VPI-Pet
                              Insurance, a personalized wellness and
                              rewards program (“Go365”), and other
                              voluntary     benefits   (collectively,   the
                              “Miscellaneous Benefit Programs”). Except
                              with respect to Go365, the Miscellaneous
                              Benefit Programs are self-funded by the
                              Employees and the Debtors to not owe any
                              amounts on account of such programs.

                              The Debtors estimate that, as of the Petition
                              Date, approximately $42,000 is accrued but
                              unpaid with respect to Go365, and the
                              Debtors’ historical average monthly spend
                              over the past 12 months is approximately
                              $13,000 with respect to Go365.


                   43.     In addition to the Employee Programs described above, the Debtors have

        historically offered a severance program to Employees (the “Severance Program,” and the

        obligations thereunder, the “Severance Obligations”) described below.            The Employee

        Obligations and the Severance Obligations are referred to collectively herein as the “Workforce

        Obligations.”

                                                                             Approximate Approximate
                                                                               Amount     Amount Due
                Category                      Description                     Accrued as   Within 21
                                                                              of Petition   Days of
                                                                                 Date     Petition Date
         Severance           Except as set forth explicitly in a written       $225,000     $80,000
         Program             employment contract between an Employee and
                             the Debtors, the Debtors provide eligible full-
                             time and part-time Employees who incur an
                             involuntary termination of employment by
                             reason of a layoff, reduction in force, or
                             elimination of the Employee’s position with
                             severance (“Severance”) in the ordinary course

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                  of business. Severance is calculated as an
                  amount equal to weekly base pay multiplied by
                  years of service, up to a maximum of weekly
                  base pay multiplied by 13, and subject to a
                  minimum of: (a) $0 for part-time Employees;
                  (b) weekly base pay multiplied by two for full-
                  time non-exempt Employees; and (c) weekly
                  base pay multiplied by four for full-time
                  exempt Employees.

                  There are approximately 67 individuals
                  (consisting of approximately 7 former insiders
                  and approximately 60 former non-insiders) that
                  were terminated prior to the Petition Date and
                  are entitled to receive payments under the
                  Severance Program (the “Prepetition Severed
                  Employees”). The remaining payments under
                  the Severance Program to the Prepetition
                  Severed Employees total approximately
                  $225,000 in the aggregate. Approximately
                  $80,000 of those payments will come due on
                  the Debtors’ next regularly scheduled payroll
                  date of May 17, 2019, with no individual
                  Prepetition Severed Employee receiving in
                  excess of $8,000. There are approximately 5
                  Prepetition    Severed    Employees       whose
                  remaining Severance payments as of the
                  Petition Date are in excess of $13,650 in the
                  aggregate. The Debtors request authority, but
                  not direction, to (i) make the next regularly
                  scheduled payment under the Severance
                  Program to the Prepetition Severed Employees
                  due to the de minimis nature of such payments
                  and the extreme hardship that would result to
                  the Prepetition Severed Employees if these
                  amounts were not paid and (ii) continue making
                  payments under the Severance Program to the
                  Prepetition Severed Employees in the ordinary
                  course of business. Additionally, in the
                  ordinary course of business, the Debtors may
                  incur Severance Obligations after the Petition
                  Date. Subject to entry of the Final Order, the
                  Debtors request authorization, but not direction,
                  to continue the Severance Program in the
                  ordinary course of business with respect to
                  Employees that may be terminated after the
                  Petition Date and to pay any Severance
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                          Obligations owing thereunder.

                          Payment of Severance Obligations to
                          Prepetition Severed Employees or Employees
                          terminated postpetition that are insiders or
                          former insiders complies with Bankruptcy Code
                          section 503(c)(2). Although certain such
                          Employees and Prepetition Severed Employees
                          may be insiders or former insiders, Severance is
                          paid to such Employees and Prepetition
                          Severed Employees as part of a program
                          generally applicable to full-time employees,
                          and the Debtors are not seeking to pay such
                          insiders or former insiders amounts that exceed
                          the cap set forth in Bankruptcy Code section
                          503(c)(2).



         C.     Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing, But Not
                Directing, Debtors to Pay Prepetition Claims of Certain Critical Vendors,
                (II) Authorizing, But Not Directing, Debtors to Re-Issue Uncashed Prepetition
                Physician Checks and (III) Authorizing Financial Institutions to Honor and Process
                All Related Checks and Transfer Requests (the “Critical Vendor Motion”)

                        (a)    Critical Vendors

                44.     To operate the LTAC hospitals, during the last twelve (12) months, the Debtors

         have relied on more than 3,050 vendors for goods and services. However, certain vendors

         provide goods and services that are necessary for the Debtors to provide patient care and are

         critical to the health and safety of the Debtors’ patients. Although the Debtors desire to resume

         normal business relationships with all vendors, and all vendors and their goods and services are

         important to the Debtors’ businesses and operations, the immediate need to continue to provide

         uninterrupted service and maintain quality patient care is the Debtors’ foremost concern.

                45.     To determine those vendors whose continued, uninterrupted provision of goods

         and services play a crucial role in maintaining the Debtors’ ongoing business operations as a

         LTAC healthcare provider (such vendors, the “Critical Vendors”) and the aggregate prepetition

         amounts owed to such vendors to establish the Critical Vendor Caps (as defined herein), the
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         Debtors, with the assistance of their advisors, have spent significant time reviewing and

         analyzing their books and records, consulting with operations management and purchasing

         personnel, reviewing contracts and supply agreements, and analyzing applicable laws,

         regulations, and historical practice. As part of this process, the Debtors examined a variety of

         factors, including:

                     whether a vendor is a sole- or limited-source or high-volume supplier for goods or
                      services critical to the Debtors’ business operations;

                     whether alternative vendors are available that can provide requisite volumes of
                      similar goods or services on equal (or better) terms and, if so, whether the Debtors
                      would be able to continue operating while transitioning business thereto;

                     the degree to which replacement costs (including pricing, transition expenses,
                      professional fees, and lost sales or future revenue) exceed the amount of a vendor’s
                      prepetition claim;

                     whether an agreement exists by which the Debtors could compel a vendor to continue
                      performing on prepetition terms;

                     whether certain specifications or contract requirements prevent, direct or indirectly,
                      the Debtors from obtaining goods or services from alternative sources;

                     whether failure to pay all or part of a particular vendor’s claim could cause the vendor
                      to refuse to ship inventory or to provide critical services, in particular, those that will
                      impact patient care, on a postpetition basis;

                     whether the Debtors’ inability to pay all or part of the vendor’s prepetition claim
                      could trigger financial distress for the applicable vendor; and

                     whether failure to pay a particular vendor could result in contraction of trade terms as
                      a matter of applicable non-bankruptcy law or regulation.

                46.      Applying the criteria set forth above, the Debtors have identified approximately

         200 vendors as Critical Vendors, each of which provides goods or services that are essential to

         the Debtors’ operations (the “Critical Goods and Services”) and each of whom has a balance in

         the Debtors’ centralized accounts payable system. The Critical Vendors are comprised of (i)

         physicians (the “Physician Critical Vendors”) and (ii) other suppliers of Critical Goods and

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         Services (the “Other Critical Vendors”), including, but not limited to, providers of medical

         supplies, pharmacy, blood suppliers, compressed oxygen and gas suppliers, laboratories,

         transportation providers, specialty treatments (such as gastrointestinal surgery specialists) and

         host hospitals that provide hoteling services, hospital food, and cleaning and linen services

         pursuant to purchase services agreements. In some cases, there is no alternative vendor for the

         Critical Goods and Services. In other cases, alternative vendors cannot supply the required

         Critical Goods and Services in sufficient quantity, quality, or reliability, or they are unable to

         supply the required Critical Goods and Services on a cost-efficient and timely basis in the

         appropriate geographic areas.

                47.     The Debtors’ failure to pay or otherwise honor the Critical Vendors’ prepetition

         claims (the “Critical Vendor Claims”) may eliminate the Debtors’ access to the Critical Goods

         and Services. Importantly, the Debtors do business with a majority of the Critical Vendors

         without the benefit of a contract and, therefore, the Critical Vendors generally are not obligated

         to do business with the Debtors or to honor particular trade terms for future orders. Absent

         payment of the Critical Vendor Claims, the Critical Vendors may cease doing business with the

         Debtors or condition the provision of the Critical Goods and Services on onerous trade terms.

         Any disruption in the supply of the Critical Goods and Services may not only materially damage

         the Debtors’ operations and substantially impair the Debtors’ reorganization efforts but, due to

         the Debtors’ operation of LTAC hospitals, may also risk patient safety.

                48.     Consequently, the Debtors seek authority, but not direction, to pay Critical

         Vendor Claims on an interim basis in an aggregate amount not to exceed $1.5 million (the

         “Interim Cap”) and on a final basis in an aggregate amount not to exceed $3 million (the “Final

         Cap” and together with the Interim Cap, the “Critical Vendor Caps”). In determining the


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         Critical Vendor Caps, the Debtors carefully reviewed all of their vendors to determine which

         vendors could meet the stringent criteria used to identify the universe of potential Critical

         Vendors. Thus, the Critical Vendor Caps represent the Debtors’ best estimates of how much in

         prepetition claims need to be paid to ensure a continued supply of Critical Goods and Services

         during the applicable period.

                   49.   As noted previously, during the last twelve (12) months, Debtors have done

         business with more than 3,050 vendors. The Interim Cap and Final Cap represent less than

         approximately 7.8% and 15%, respectively, of the Debtors’ total trade accounts payable

         estimated at approximately $19 million. Given the current state of the Debtors’ businesses, the

         detailed protocol described herein for determining whether to make a Critical Vendor payment,

         and the risks associated with non-payment, the Debtors submit that the Critical Vendor Caps are

         reasonable and appropriate caps on the expenditure of estate funds to satisfy certain prepetition

         claims.

         D.        Debtors’ Motion for Entry an Order Authorizing the Debtors to Maintain,
                   Administer, Modify, and Renew their Refund Program and Practices and Honor
                   Obligations Related Thereto (the “Patient Refund Motion”)

                         (a)    The Debtors’ Refund Program

                   50.   In the ordinary course of business, the Debtors refund patients and third-party

         payors when overpayments are identified. These third-party payors include healthcare insurers,

         managed care organizations, workers’ compensation programs, contract management services,

         private pay sources, Medicare and Medicaid (collectively, “Third-Party Payors”).          In the

         ordinary course of business, the Debtors routinely issue refunds or are subject to offsets or

         recoupments for reimbursement of overpayments made by or on behalf of patients resulting from

         the interaction between the Debtors’ billing procedures, patient medical insurance deductibles

         and third-party payments (the “Refund Program”).

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                51.     The case-by-case nature of the Debtors’ medical services makes the process of

         determining each patient’s insurance coverage particularly complex. As a result, whether due to

         data input errors during claims processing or overpayments arising from coordination of benefits

         issues among multiple insurers, patient accounts—once fully processed—may contain credit

         balances. Once the Debtors receive payments from patients or insurers, the Debtors review

         accounts that have credit balances and, if appropriate, refund any surplus to the patient or the

         applicable Third-Party Payor to address any overpayments.

                52.     When the Debtors discover and verify an overpayment from a patient or Third-

         Party Payor, the amount of the overpayment is reviewed in the Debtors’ billing system, which

         then administers refunds to the patient as appropriate.     Offsets by Third-Party Payors are

         reconciled by the Debtors after the offset occurs. There is typically a significant lag between

         when the patient is treated, when the overpayment is recognized or determined, and when the

         overpayment is reviewed in the Debtors’ billing system. After the overpayment amount is

         determined, either the Debtors issue a check or other form of payment to the patient or Third-

         Party Payor, or the Third-Party Payor will offsets future payments in the amount of the

         overpayment.

                53.     At any given time, it is difficult to determine the amount of outstanding

         overpayments that have been identified and made but have not yet been issued a refund check or

         given an offset. Moreover, some refund checks issued to patients before the petition date may

         not have been presented for payment or may not have cleared the Debtors’ banking system or

         accounting system, and accordingly, have not been honored and paid as of the Petition Date.

                54.     Nonetheless, the Debtors are required, under the laws of various states, to

         reimburse patients and Third-Party Payors as overpayments are identified.


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                55.     As of the Petition Date, the Debtors estimate that approximately $5.1 million in

         refunds and credit balances may be due and owing under the Refund Program, of which

         approximately $2 million could become due and owing during the first 21 days of these chapter

         11 cases. The Debtors request authority to continue to issue and pay and allow offsets for the

         Refund Program to patients and Third-Party Payors on a postpetition basis, including refunds for

         overpayments made prepetition or resulting from prepetition services in the ordinary course of

         business.

         E.     Debtors’ Motion for Entry of Interim and Final Orders (I) Prohibiting Utility
                Companies from Altering, Refusing, or Discontinuing Utility Services, (II) Deeming
                Utility Companies Adequately Assured of Future Performance, (III) Establishing
                Procedures for Determining Additional Adequate Assurance of Payment, and
                (IV) Setting a Final Hearing Related Hereto (the “Utilities Motion”)

                56.     In the normal course of operation of their business, the Debtors obtain electricity,

         natural gas, sewer, water, telecommunications, waste disposal, and other similar services

         (collectively, the “Utility Services”) from various utility companies (each, a “Utility Company”

         and collectively, the “Utility Companies”). A list of Utility Companies that provide Utility

         Services to the Debtors as of the Petition Date is attached hereto as Exhibit D (as supplemented,

         the “Utility Service List”). On average, the Debtors spend approximately $400,000 per month on

         the Utility Services.

                57.     In general, the Debtors have established a good payment history with the Utility

         Companies and have made payments on a regular and timely basis. To the best of the Debtors’

         knowledge, there are no material defaults or arrearages of any significance with respect to the

         Debtors’ undisputed Utility Services invoices, other than payment interruptions that may be

         caused by the commencement of these Chapter 11 Cases.




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         F.     Debtors’ Motion for Entry of an Order (I) Authorizing, but not Directing, Debtors
                to (A) Continue Insurance Policies Entered into Prepetition, (B) Satisfy all
                Obligations Relating to the Prepetition Insurance Policies, (C) Continue Insurance
                Premium Financing Agreements, and (II) Granting Related Relief (the “Insurance
                Motion”)

                        (a)     The Insurance Program and Policies

                58.     The Debtors, in the ordinary course of business and in connection with their

         business operations, maintain various insurance policies and procedures, including, but not

         limited to, workers’ compensation insurance, general liability insurance, property insurance,

         director and officer insurance, and other state specific policies (the “Insurance Program”). A

         list of the Debtors’ insurance policies as of the Petition Date is included herein as Exhibit E

         (collectively, the “Insurance Policies”).     Exhibit E provides a comprehensive list of the

         Insurance Policies and other information such as type of coverage, policy numbers and the

         names of the Debtors’ insurance providers (the “Insurance Carriers”).

                59.     To assist them in their efforts to obtain the insurance coverage necessary to

         operate their business in a reasonable, prudent and cost-effective manner, the Debtors utilize the

         expertise, experience, and services of Marsh USA, Inc. and Hub International as insurance

         brokers (together, the “Brokers”). Among other things, the Brokers represent the Debtors in

         negotiations with their various insurance underwriters.        The Debtors remit the premium

         payments on certain of the Policies to the Brokers for payment by the Brokers to the Insurance

         Carriers. The Debtors believe it is in the best interests of their creditors and estates to continue

         these business relationships with the Brokers. Accordingly, as a part of this Motion, the Debtors

         also seek authority, in their sole discretion, to continue their prepetition practice of paying

         brokerage fees and remitting premiums to the Brokers and any other agent or broker engaged by

         the Debtors in connection with their respective representations of the Debtors in negotiations



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         with the Insurance Carriers and other activities related to the maintenance of the Insurance

         Program.

                60.     As of the Petition Date, the Debtors believe that approximately $45,000 in

         premiums are due and owing and will be paid within the first 21 days of these cases. The

         Debtors believe that authorizing them to make the payments required to maintain the full

         effectiveness of the Policies and to continue the Insurance Program is essential to the

         preservation of their business, estates, and assets. The Debtors’ are required by various state and

         federal laws and regulations, including the Operating Guidelines for Chapter 11 Cases set forth

         by the United States Trustee for the District of Delaware, to maintain the Insurance Policies in

         the ordinary course of business. Additionally, Bankruptcy Code section 1112(b)(4)(C) requires

         the Debtors to maintain the proper level of insurance, warning failure to maintain appropriate

         insurance that creates a risk to the estate or general public is cause for mandatory conversion or

         dismissal of a chapter 11 case. 11 U.S.C. § 1112(b)(4)(C).

                61.     The premiums for the Insurance Policies are approximately $4,456,000, not

         including applicable taxes and surcharges, deductible, and broker and consulting fees and

         commissions. The Debtors pay such premiums in full annually, or, to manage liquidity, through

         two insurance premium finance agreements (the “Premium Financing Agreements”) with

         AFCO Premium Credit, LLC (the “PFA Lender”) for certain Insurance Policies (the “PFA

         Policies”). The first agreement is to finance certain director and officer liability policies (the

         “D&O PFA”), and the second agreement finances workers compensation, certain state specific

         policies, and other general corporate policies (the “General PFA”). Pursuant to the Premium

         Financing Agreements, the PFA Lender has agreed to pay the insurance premiums due under the

         PFA Policies in exchange for payments from the Debtors, as set forth more fully below. The


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         Debtors’ obligations under the Premium Financing Agreements are secured by all sums due

         under the Premium Financing Agreements and any unearned premiums or other sums that may

         become payable under the PFA Policies. The PFA Policies are essential to the preservation of

         the Debtors’ business.

                    62.   For the General PFA, the Debtors made an initial down payment of $215,670.34,

         and agreed to make nine monthly payments in the amount of $215,670.34.                The monthly

         installments were due on the 30th of each month, with the first installment due on June 30, 2018.

         The Debtors have made all monthly payments due under the General PFA.

                    63.   For the D&O PFA, which covers the period through August 15, 2019, the Debtors

         made an initial down payment of $36,284.22, and agreed to make six monthly payments in the

         amount of $36,284.22. The monthly installments were due on the 30th of each month, with the

         first installment due on September 30, 2018. The Debtors have made all payments due under the

         D&O PFA. In addition, prior to the Petition Date, the Debtors purchased a six-month extension

         of their D&O coverage, along with policy for a six-year run-off period. The run-off policy will

         incept at either a change in control triggering event, or the expiration of the six-month extension.

         The premium for the six-month extension was $350,000, and the premium for the six-year run-

         off was $687,000. The extension and run-off premiums are non-cancellable, and have been paid

         in full.

                    64.   In the Debtors’ business judgment, the terms of the Premium Financing

         Agreements represent the best available terms. The Debtors’ estates will benefit by maintaining

         this low-cost financing from the PFA Lender. Moreover, any interruption of payments might

         adversely affect the Debtors’ ability to obtain financing for future policies on favorable terms.

         Thus, the Debtors request the authority to continue honoring their obligations pursuant to the


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         Premium Financing Agreements, including the granting of security interests to the PFA Lender,

         and to renew or replace the Premium Financing Agreements in the ordinary course of business.

                65.     The Debtors are also required by the law of the states in which they do business to

         provide workers’ compensation coverage for their employees. As required by law, and in the

         ordinary course of their business, the Debtors maintain workers’ compensation and employers’

         liability coverage (the “Workers’ Compensation Program”) as part of the Insurance Program,

         under Insurance Policies with Sentry Casualty Company (“Sentry”). The current Insurance

         Policies provide coverage through August 10, 2019.           The annual cost of the Workers’

         Compensation Program is approximately $2,625,000, of which approximately $625,000 is paid

         for the premium and approximately $2,000,000 is paid towards claims.                The Workers’

         Compensation Program includes a self-insurance retention amount of $350,000 per occurrence.

                66.     Pursuant to these Insurance Policies, Sentry manages the process and pays the

         workers’ compensation claims (the “Workers’ Compensation Claims”) on behalf of the Debtors.

         The fees that Sentry charges to administer the Workers’ Compensation Program are included in

         the Workers’ Compensation Program premiums. As of the Petition Date, the Debtors estimate

         that approximately $45,000 of premiums are due and owing under the Workers’ Compensation

         Program and will be paid in the first 21 days of these cases. To ensure that claims incurred under

         the Workers’ Compensation Program are resolved, the Debtors must pay outstanding prepetition

         liabilities associated with the Workers’ Compensation Program.            Accordingly, the Debtors

         request authority to continue to maintain the Workers’ Compensation Program in the ordinary

         course of business, and to pay any prepetition amounts related thereto.




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         G.     Debtors’ Motion for Entry of an Order (I) Authorizing Payment of Certain
                Prepetition Taxes and (II) Authorizing Financial Institutions to Honor and Process
                all Related Checks and Electronic Payment Requests (the “Taxes Motion”)

                        (a)    Prepetition Taxes and Fees Paid by the Debtors

                67.     This Motion seeks entry of an order authorizing, but not directing, the Debtors to

         remit and pay, in the ordinary course of business, certain taxes and fees, including, but not

         limited to sales, use, franchise, property, and certain other governmental fees and taxes

         (collectively, the “Taxes”); and (ii) authorizing the Debtors’ banks and financial institutions

         (collectively, the “Banks”) to honor and process all related checks and electronic payment

         requests.

                68.     In the ordinary course of their business, the Debtors incur or collect the Taxes and

         remit such Taxes to various taxing, licensing, and other governmental authorities (collectively,

         the “Taxing Authorities”). Certain Taxes attributable to the prepetition period (the “Prepetition

         Taxes”) have not yet become due or remain outstanding as of the Petition Date. Additional

         detail with respect to the Prepetition Taxes is provided below.

                        (b)    Sales and Use Taxes.

                69.     The Debtors collect and remit to certain Taxing Authorities a variety of sales,

         local gross receipts, and other similar taxes in connection with the Debtors’ sale of certain goods

         and services (collectively, the “Sales Taxes”). Sales Taxes are paid in the ordinary course of the

         Debtors’ business and are calculated based upon statutorily mandated percentages. The Debtors

         remit Sales Taxes quarterly or monthly, depending on the particular taxing authority.

                70.     In addition, the Debtors may be responsible for the payment of use taxes (the

         “Use Taxes” and together with the Sales Taxes, the “Sales and Use Taxes”). Vendors are not

         obligated to charge or remit Sales Taxes for sales to parties outside the state of the vendor’s

         operations. Nevertheless, a purchaser is obligated to self-assess and pay taxes on the use,

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         storage, or consumption of goods in the states in which the purchaser operates, regardless of

         whether the purchase took place in that state. The Debtors incur and remit Use Taxes when they

         purchase property or services from vendors that have no nexus to the state in which the

         purchasing Debtor operates, and thus no Sales Taxes were collected by the vendor.

                71.     Based upon historical payments, as of the Petition Date, the Debtors estimate that

         approximately $45,000 in Sales and Use Taxes relating to the prepetition period will be due and

         owing to the Taxing Authorities in the ordinary course of business after the Petition Date.

                        (c)    Income, Franchise Taxes, Annual Report Taxes, and Other Business,
                               License, and Corporate Fees.

                72.     The Debtors pay certain taxes based on their income (the “Income Taxes”),

         which are typically paid in the ordinary course of business.        In addition, the Debtors pay

         franchise, capital stock, and similar taxes and fees (collectively, the “Franchise Taxes”) to

         certain of the Taxing Authorities to maintain the right to operate their business in the applicable

         taxing jurisdictions. Certain states will refuse to qualify a Debtor to do business in a state if

         Franchise Taxes have not been paid. Certain state governments also require the Debtors to pay

         annual report taxes and other corporate fees to be in good standing for purposes of conducting

         business within that state (collectively, the “Corporate Fees”). Finally, in some instances, the

         Debtors are required to pay Taxing Authorities for licenses, permits, registrations, and other

         various fees, taxes, and charges necessary for the Debtors to conduct their business operations,

         including certain permits and assessment fees, medical and hospital licenses, and commercial-

         vehicle related permits and fees (together with the Franchise Taxes and Corporate Fees, the

         “Business Taxes and Fees”). Based upon historical payments, the Debtors estimate that the

         aggregate amount of prepetition Business Taxes and Fees that will be due and owing to the



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         Taxing Authorities in the ordinary course of business after the Petition Date is approximately

         $150,000.

                        (d)     Property-Related Taxes.

                73.     Various state and local governments in jurisdictions where the Debtors’

         operations are located have the authority to levy property taxes, including certain mineral right

         taxes, against the Debtors’ real and personal property (the “Property Taxes”). The Debtors

         typically pay Property Taxes annually or bi-annually depending on how the relevant tax is

         assessed. Based upon historical payments, the Debtors estimate that as of the Petition Date, there

         is approximately $1,300,000 of unpaid Property Taxes for the prepetition period. Of the amount

         of unpaid Property Taxes, the Debtors estimate that approximately $90,000 will come due within

         the first 21 days of these bankruptcy proceedings, and that an additional $385,000 is currently

         past-due.

                74.     Many Taxing Authorities impose personal liability on directors or responsible

         officers of entities responsible for collecting or paying certain taxes and fees to the extent that

         such taxes or fees are not remitted. Thus, if any such Taxes remain unpaid, the Debtors’

         directors and responsible officers may be subject to lawsuits or even criminal prosecution on

         account of such nonpayment during the pendency of these chapter 11 cases. Such lawsuits or

         proceedings obviously would constitute a significant distraction for the Debtors’ directors and

         responsible officers at a time when they should be focused on the Debtors’ efforts to stabilize

         their postpetition business operations.

                75.     Although the Debtors believe that all Taxes for which the Debtors’ directors or

         responsible officers may be personally liable are described herein, it is possible that other

         prepetition obligations similar in nature (and in threat of personal liability) may be uncovered by

         the Debtors subsequent to the filing of this Motion.        To the extent that such prepetition
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         obligations exist, the Debtors will consider such obligations “Prepetition Taxes” as that term is

         defined and used herein and request the authority to pay such Prepetition Taxes as they may arise

         in the ordinary course of their business.

         H.     Debtors’ Motion for Entry of an Order (I) Authorizing, But Not Directing, Payment
                of Certain Prepetition Claims of Warehousemen and Other Lien Claimants and
                (II) Granting Related Relief (the “Lienholder Motion”)

                76.     In operating the LTAC hospitals, the Debtors rely on thousands of vendors for the

         goods and services necessary to operate the LTAC hospitals and provide the highest level of

         patient care and treatment. As described below, certain of these vendors provide specific types

         of goods or services that may entitle them to security interests, priorities, or other rights in or

         over the Debtors’ property.

                77.     To ensure the uninterrupted flow of goods to the LTAC hospitals, the Debtors

         have a supply chain and distribution network that includes, amongst others, third-party

         warehousemen (the “Warehousemen”). In the ordinary course of business, the Debtors rely on

         the Warehousemen to store certain goods and other property of the Debtors, such as medical

         supplies and certain patient records stored on behalf of certain physician groups. The failure of

         the Debtors to pay the prepetition claims of the Warehousemen (the “Warehousing Claims”)

         may result in the Warehousemen asserting possessory liens, under applicable non-bankruptcy

         law, against the Debtors’ property in their possession.

                78.     Additionally, in the ordinary course of business, the Debtors transact business

         with a number of other third-party vendors who, under applicable non-bankruptcy law, have the

         potential to assert mechanics’, materialmen’s, artisan’s, or other similar liens against the

         Debtors’ property (collectively, the “Other Lien Claimants” and collectively with the

         Warehousemen, the “Lien Claimants”) if the Debtors fail to pay their prepetition claims (the

         “Other Lien Claims” and together with the Warehousing Claims, the “Lien Claims”). The Other
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         Lien Claimants provide a number of services that are essential to patient care and treatment and

         the Debtors’ ability to maximize the value of their estates, such as construction, maintenance,

         and repair services at the Debtors’ LTAC hospitals and other facilities. Specifically, the Debtors

         have a number of ongoing repair and construction projects (collectively, the “Construction

         Projects”). The Construction Projects are located at several different LTAC hospitals and

         involve several different third-party vendors. Tasks include gas-leak repair, boiler repair, fire-

         panel replacement, kitchen walls repair, and bathroom-leak repair. These Construction Projects

         are critical and necessary for the LTAC hospitals’ viability, and ensure the Debtors are

         maintaining their business operations to the utmost safety standards.

                79.     The Debtors have generally made timely payments to the Lien Claimants as of the

         Petition Date, yet some of the Lien Claimants may not have been paid in full for certain Lien

         Claims. This may result in such Lien Claimants asserting or perfecting possessory or other liens

         under applicable non-bankruptcy law with respect to certain of the Debtors’ property

         (collectively, the “Liens”). Moreover, to protect any asserted Lien rights, the Lien Claimants

         may refuse to release goods or property in their possession unless and until the Lien Claims have

         been satisfied. Irrespective of the amount and validity of the Liens, the mere assertion of the

         Liens would delay the Debtors’ access to critical goods and services and severely impair the

         Debtors’ ability to provide quality patient care and otherwise operate their businesses, thereby

         causing irreparable harm to the Debtors’ estates. Accordingly, the Debtors seek authority, but

         not direction, to pay the Lien Claims to the extent the Debtors determine, in the exercise of their

         business judgment, that such payments are necessary or appropriate, in an amount not to exceed

         $400,000 in the aggregate. The Debtors believe that such amount will be sufficient to ensure a

         continued supply of the critical goods and services.


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         I.           Debtors’ Motion for Entry of an Order Authorizing Certain Procedures to Maintain
                      the Confidentiality of Patient Information as Required by Applicable Privacy Rules
                      (the “Patient Confidentiality Motion”)

                      80.        In the ordinary course of business, the Debtors have access to and receive

         “protected health information” that the Debtors are required to confidentially maintain pursuant
                                                                                                12
         to the Health Insurance Portability and Accountability Act of 1996                          and corresponding privacy
                 13
         rules        (“HIPAA”).           It is of paramount importance to the Debtors that protected health

         information be maintained in accordance with patient expectations and HIPAA. I am advised by

         counsel that the establishment of the Privacy Procedures will balance the need to protect patient

         health information pursuant to HIPAA with the need to disclose information regarding these

         chapter 11 cases to the public.




                      12
                           42 Pub. L. No. 104-191, 110 Stat. 1936 (codified as amended in scattered sections of 42 U.S.C.).
                      13
                           45 C.F.R. pts. 160, 164.


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                Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

         statements are true and correct to the best of my knowledge, information, and belief.

         Dated: May 7, 2019                           /s/ James Murray
                                                      James Murray
                                                      Chief Executive Officer
                                                      Hospital Acquisition, LLC




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                                     EXHIBIT A

                             Corporate Organization Chart




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                                                                                                                     Acquisition LLC



                                                                                                                        Hospital
                                                                                                           Acquisition Intermediate Sub LLC

                           LifeCare Organizational Chart
                                            Debtor Entities                                                       LifeCare Holdings LLC
                                                                                                          (f/k/a Hospital Acquisition Sub I LLC)




   LifeCare                                                                                                                                                                                       New
                                                           New LifeCare      New LifeCare                                                                       LifeCare     New LifeCare                                                      LifeCare
  Behavioral                          New LifeCare                                                 Hospital          New LifeCare         New LifeCare                                         Pittsburgh
                                                           Hospitals of      Hospitals of                                                                        Home         Hospitals of                                                     Vascular
    Health        New LifeCare         Hospitals of                                               Acquisition        Management                                                                 Specialty
                                                            Milwaukee        South Texas                                                   REIT 1 LLC            Health                                                                        Services,
  Hospital of     Hospitals LLC        Dayton LLC                                                  Sub II LLC        Services LLC                                            Mechanicsburg
                                                                                                                                                               Acquisition                    Hospital LLC
                                                               LLC               LLC                                                                                             LLC                                                              LLC
  Pittsburgh                                                                                                                                                       LLC
      LLC




  New LifeCare        New LifeCare        New LifeCare         New San       New LifeCare                        New NextCare
                                                                                             New LifeCare                               Hospital                                         LifeCare                           New LifeCare    New LifeCare
   Hospitals of       Hospitals of         Hospitals of        Antonio       Hospitals of                         Specialty                               LifeCare Home Health                            New LifeCare
                                                                                             Hospitals    of                           Acquisition                                      Pharmacy                            Hospitals at    Hospitals of
   North Texas       Chester County      Northern Nevada       Specialty        North                             Hospital of                             Intermediate Sub LLC                             REIT 2 LLC
                                                                                             Pittsburgh LLC                              MI LLC                                        Services LLC                          Tenaya LLC     Sarasota LLC
       LLC                LLC                  LLC            Hospital LLC   Carolina LLC                         Denver LLC




                                  LifeCare Florida Holdings                                                                                                           LifeCare Haven Holdings LLC
                                             LLC




  Complete Home       Complete Home         Complete Home
                                                                    LifeCare Fusion                         BeyondFaith      BeyondFaith            BeyondFaith        BeyondFaith       BeyondFaith
     Care of             Care of the           Care Nurse                                   Haven Home                                                                                                                         Care First
                                                                    Home Health LLC                         Homecare &       Homecare &             Homecare &         Homecare &        Homecare &                                          Select Home Care
Broward County LLC    Palm Beaches LLC        Registry, LLC                                  Health LLC                                                                                                      27 HHA, Inc.     Home Care,
                                                                                                             Rehab, LLC       Rehab of               Rehab of          Rehab of Ft.       Rehab of                                          Las Vegas South, LLC
                                                                                                                                                                                         Dallas, L.L.C.                           LLC
                                                                                                                             Graham, LLC           Abilene, L.L.C.     Worth, L.L.C.
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                                     EXHIBIT B

                           Chart of Cash Management System




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                                                                                         Cash Management Flowchart1


                                                                                 Cafeteria Receipts:                      Miscellaneous Cash
                                   Patient Receipts
                                                                         Pittsburgh, Mechanicsburg, North                      Receipts

                                                                                                                                                                   Standalone Accounts

                                       Lockbox                                                                                                                                       Pittsburgh TCC
                                   (7 A/R accounts)                                                                                                 Hospital Acquisition MI
                                                                     Mechanicsburg                                                                                                Resident Trust Fund
                                        *2118                                                North Carolina                                            (Resident Funds
                                                                     (Local Account)                                                                                                (Resident Funds
                                        *4280                                                (Local Account)                                               Account)
                                                                         *4400 -                                                                                                        Account)
                                        *4298                                                  *1859 - PNC                                                  *0307
                                                                      Citizens Bank                                                                                              *5172 - Citizens Bank
                                        *4405
                                        *4413
                                        *8057
                                                                                                                                                          Employee                Hospital Acquisition
                                                                                                                                                       Assistance Fund             (Funds Account)
                                                                         Pittsburg                                                                          *3683                 *0359 - Capital One
                                                                     (Local Account)
                                                                          *5077 -
                                Lockbox Concentration                 Citizens Bank
                                 *3109 - Capital One                                                                                                                                Funds Account
                                                                                                                                                       Reserve Account
                                                                                                                                                                                      (Deposits)
                                                                                                                                                            *6187
                                                                                                                                                                                        *0523
          White Oak
          Healthcare
          (Revolver
       Paydown/Draws)                                                                                                                                   Funds Account
                                                                                                                                                          (Deposits)
                                                                                                                                                            *0515
                                                                             Operating Accounts
                                                                                *2163 (Main)
                                                                        *3106 -Capital One (Secondary)

                                                                                                                                                                       automatic daily sweep

                                                                                                                                                                       automatic monthly sweep

                                        Payroll Account - ZBA                                               Cash Disbursement Account - ZBA
                                                *4895                                                                    *7687




                                             Payments to                                                             Payments to
                                              Employees                                                                Vendors




1
    Unless otherwise specified, the Bank Account is at JPMorgan.
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                                     EXHIBIT C

                                    Bank Accounts




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                                                                                                                              Account Number
                     Account Type                                        Account Owner                               Bank      (Last 4 Digits)
 Cafeteria Account                                     New LifeCare Hospitals of Mechanicsburg LLC           Citizens Bank         4400
 Cafeteria Account                                     New LifeCare Hospitals of North Carolina LLC          PNC Bank              1859
 Cafeteria Account                                     New LifeCare Hospitals of Pittsburgh LLC              Citizens Bank         5077
 Main Operating Account                                New LifeCare Management Services LLC                  JPMorgan Chase        2163
 Secondary Operating Account                           New LifeCare Management Services LLC                  Capital One           3106
 Controlled Disbursement Account                       New LifeCare Management Services LLC                  JPMorgan Chase        7687
 Payroll Account                                       New LifeCare Management Services LLC                  JPMorgan Chase        4895
 Receivables Account (Lockbox)                         New LifeCare Management Services LLC                  JPMorgan Chase        4280
 Receivables Account (Lockbox)                         New LifeCare Management Services LLC                  JPMorgan Chase        4298
 Receivables Account (Lockbox)                         New LifeCare Management Services LLC                  JPMorgan Chase        4413
 Receivables Account (Lockbox)                         New LifeCare Management Services LLC                  JPMorgan Chase        4405
 Receivables Account (Lockbox)                         New LifeCare Management Services LLC                  JPMorgan Chase        8806
 Receivables Account (Lockbox)                         New LifeCare Management Services LLC                  JPMorgan Chase        2118
 Receivables Account (Lockbox)                         New LifeCare Management Services LLC                  JPMorgan Chase        8057
 Receivables Account (Lockbox Concentration Account)   New LifeCare Management Services LLC                  Capital One           3109
 Funds Account (Employee Assistance Fund)              LifeCare Hospitals Employee Assistance Fund           JPMorgan Chase        3683
 Funds Account                                         LifeCare Hospitals of Pittsburgh TCC Resident Trust   Citizens Bank         5172
 Funds Account                                         Hospital Acquisition LLC                              Capital One           0359
 Funds Account                                         Hospital Acquisition MI LLC                           JPMorgan Chase        0307
 Reserve Account                                       LifeCare Holdings, LLC                                Capital One           6187
 Funds Account (Deposits)                              New LifeCare Management Services LLC                  JPMorgan Chase        0523
 Funds Account (Deposits)                              New LifeCare Management Services LLC                  JPMorgan Chase        0515




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                                      EXHIBIT D

                                    Utility Companies




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Name of Utility Provider                      Address                           Services Provided            Account Number
                                         328 COLEMAN DR
A&W Communications Inc                                                              Telephone              No Account Number
                                      MONROEVILLE, PA 15146
                                           PO BOX 105306
ACC Business                                                                         Internet                 000012044915
                                      ATLANTA, GA 30348-5306
                                           PO BOX 650485
ADT Security Services                                                                Security                   5724218
                                       DALLAS, TX 75265-0485
                                         730 F AVE STE 210
Affiliated                                                                          Telephone                     2717
                                          PLANO, TX 75074
                                                                                                      0304911362001 | 1717948053604
                                                                                                            | 21464096006559 |
                                          PO BOX 660921                                                   318M75-08238230512 |
AT&T                                                                            Telephone, Internet
                                       DALLAS, TX 75266-0921                                              318M75-08258250510 |
                                                                                                          318M75-08268260519 |
                                                                                                              8310003133785
                                           PO BOX 790311                                                3027611299 | 3025048910 |
Atmos Energy                                                                          Electric
                                      ST LOUIS, MO 63179-0311                                                  3031426080
                                        115 GATEWAY DRIVE
Birch                                                                                Internet                    893632
                                          MACON, GA 31210
                                            PO BOX 4583
Centerpoint Energy Arkla                                                              Electric                  9789683-1
                                      HOUSTON, TX 77210-4583
                                           PO BOX 91155                                                  87375453 | 307754699 |
CenturyLink                                                                          Internet
                                      SEATTLE, WA 98111-9255                                                   418258732
                                           PO BOX 790086                                                  8354100013453256 |
Charter/Spectrum                                                                    Television
                                    SAINT LOUIS, MO 63179-0086                                             8354100021393080
                                           CITY HALL 1AN
City Of Dallas                                                                        Water               100866731 | 100649557
                                          DALLAS, TX 75277
                                   FINANCE - 4TH FL 495 S MAIN ST
City Of Las Vegas                                                                     Water                    FAN-21948
                                        LAS VEGAS, NV 89101
                                  DEPT OF FINANCE PO BOX 748022
City Of Las Vegas Sewer                                                               Sewer                    9475622222
                                    LOS ANGELES, CA 90074-8022
                                           PO BOX 861990
City Of Plano Utilites                                                                Water                  311822 | 311823
                                       PLANO, TX 75086-1990
                           DEPARTMENT OF WATER & SEWERAGE PO BOX 30065
City Of Shreveport                                                                    Water                    143073301
                                     SHREVEPORT, LA 71153-0065
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Name of Utility Provider                            Address                         Services Provided                  Account Number
                                                                                                                   939743970 | 939756725 |
                                                                                                                     8396300012165050 |
                                                                                                                     8396300012165055 |
                                                                                                                     8396300012275623 |
                                                 PO BOX 3006                                                         8396300020172762 |
Comcast                                                                        Television, Security, Internet
                                          SOUTHEASTERN, PA 19398-3006                                                8497303262670913 |
                                                                                                                     8499100830174313 |
                                                                                                                     8993110820094828 |
                                                                                                                     8993210300163976 |
                                                                                                                      8535100441689135
                                                   PO BOX 4640
Constellation New Energy Inc                                                              Electric              8824156 | 8824159 | 7673856-1
                                          CAROL STREAM, IL 60197-4640
                                                   PO BOX 53262                                                      0018610115317001 |
Cox Business                                                                             Internet
                                              PHOENIX, AZ 85072-3262                                                  0018610123376501
                                                   PO BOX 2678                                                          300-3021-531 |
CPS Energy                                                                                Electric
                                          SAN ANTONIO, TX 78289-0001                                                     300-3021-527
                                          101C N. GREENVILLE AVE #230
Digital Telefones                                                                       Telephone               3054 | 4649 | 4840 | 4842 | 4863
                                                 ALLEN, TX 75002
                                                  PO BOX 660749
Direct Energy Business                                                                    Electric               1294525 | 1294526 | 1294520
                                                 DALLAS, TX 75266
                                                  PO BOX 105249                                                    032731559 | 036310819 |
Direct TV                                                                               Television
                                             ATLANTA, GA 30348-5249                                                 039676887 | 039962800
                                      PAYMENT PROCESSING CENTER PO BOX 10
Duquesne Light Co                                                                         Electric                       6645-350-000
                                           PITTSBURGH, PA 15230-0010
                                              GENERAL MAIL FACILITY
Florida Power & Light Company                                                             Electric                       84699-81453
                                               MIAMI, FL 33188-0001
                                                 920 FOURNIER ST
Fort Worth Water Department                                                               Water                         663131244918
                                           FORT WORTH, TX 76102-3456
                                                  PO BOX 25426
FPL Energy Services                                                                       Electric                        1100218186
                                               MIAMI, FL 33102-5426
                                                  PO BOX 740407
Frontier                                                                                 Internet                    94137775260222100
                                            CINCINNATI, OH 45274-0407
                                                  PO BOX 30519
GlobalStar LLC                                                                          Telephone                         1.50018625
                                           LOS ANGELES, CA 90030-0519
                                          CLIENT ID #311 PO BOX 983119
Granite Communications LLC                                                              Telephone               02884087 | 03029890 | 02884087
                                             BOSTON, MA 02298-3119
                                                   PO BOX 2921
Las Vegas Valley Water District                                                           Water                          6860586853-5
                                              PHOENIX, AZ 85062-2921




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Name of Utility Provider                                Address                             Services Provided           Account Number
                                                                                                                   0205296669 | 0205314823 |
                                                    PO BOX 910182
Level3/CenturyLink                                                                              Internet              2012040617205034 |
                                                 DENVER, CO 80291-0182
                                                                                                                  5-4MBMVQGQ | 5-QRRYM3F9
                                                  2233 GETTYSBURGH RD
Lower Allen Township                                                                             Sewer                     2874450-0
                                                   CAMP HILL, PA 17011
                                                      PO BOX 30150
NV Energy                                                                                        Electric            3000322266818370000
                                                   RENO, NV 89520-3150
                                                     PO BOX 371412                                                   1024-210033115846 |
Pennsylvania American Water                                                                      Water
                                               PITTSBURGH, PA 15250-7412                                              1024-210033115556
                                                      PO BOX 644760
Peoples Natural Gas                                                                               Gas                    210000948211
                                               PITTSBURGH, PA 15264-4760
                                                      PO BOX 25222
PPL Electric Utilities                                                                           Electric          95899-98004 | 09601-20030
                                              LEHIGH VALLEY, PA 18002-5222
                                                7829 ORLAND PARK CIRCLE
Quality Waste Service Inc                                                                        Waste                No Account Number
                                                  FORT WORTH, TX 76137
                                                2000 McKinney Ave, #2125
RedAway LLC                                                                                  Medical Waste            No Account Number
                                                     Dallas, TX 75201
                                                                                                                       3-0620-0719870 |
                                                    770 E SAHARA AVE                                                   3-0620-0241852 |
Republic Services Inc #620                                                                       Waste
                                                LAS VEGAS, NV 89014-2943                                               3-0620-0426176 |
                                                                                                                        3-0620-8006750
                                                     PO BOX 78829
Republic Services of Southern Nevada                                                             Waste                  3-0620-8008750
                                                 PHOENIX, AZ 85062-8829
                                                     DEPT CH 19585                                                  243207031 | 250040035 |
Ring Central                                                                                   Telephone
                                                 PALATINE, IL 60055-9585                                                  1558762020
                                                                                                                   000496756-0496757-0001 |
                                                      PO BOX 2990
San Antonio Water System                                                                         Water             000506909-0117899-0002 |
                                               SAN ANTONIO, TX 78299-2990
                                                                                                                    000506910-0117900-0002
                                                                                                                        337133-176598 |
                                                     PO BOX 31320
Sarasota County Public Utilities                                                                 Water                  337133-515154 |
                                                  TAMPA, FL 33631-3320
                                                                                                                         422849-585664
                                                      PO BOX 1195
Service Waste Inc                                                                                Waste              XX-XXXXXXX | XX-XXXXXXX
                                                 FORT WORTH, TX 76101
                                                      PO BOX 98890
Southwest Gas Corporation                                                                         Gas                  211-5219039-004
                                                LAS VEGAS, NV 89193-8890
                                                     PO BOX 371496                                                     961-928-926-1-8 |
Southwestern Electric Power                                                                      Electric
                                               PITTSBURGH, PA 15250-7496                                                964-237-142-1-9
                                                     PO BOX 660324                                              0384462-8 | 0725110-1 | 0288800-
Spok Inc                                                                                       Telephone
                                                  DALLAS, TX 75266-0324                                                        6



                                                                           3
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Name of Utility Provider                            Address                          Services Provided            Account Number
                                                PO BOX 219100                                                 926976456 | 928352606 |
Sprint                                                                                   Telephone
                                          KANSAS CITY, MO 64121-9100                                                823291072
                                              28161 N. Keith Drive
SteriCycle                                                                             Medical Waste             2123759 | 8294817
                                              Lake Forest, IL 60045
                                                PO BOX 660365
Suddenlink                                                                               Television                 7136690011
                                            DALLAS, TX 75266-0365
                                                 PO BOX 31318
Teco                                                                                       Electric                211007440327
                                             TAMPA, FL 33631-3318
                                                PO BOX 200143
Tiger Sanitation, Inc                                                                      Waste                      091287
                                            SAN ANTONIO, TX 78220
                                                                                                              063312101 | 075201901 |
                                                                                                              076521501 | 076562301 |
                                                                                                               104047001431014001 |
                                                                                                               104047184058014001 |
                                                                                                                8260130361839064 |
                                               PO BOX 660815
Time Warner/Spectrum                                                                 Television, Internet       8260130362703384 |
                                            DALLAS, TX 75266-0815
                                                                                                                8260130363419980 |
                                                                                                                8260130591565596 |
                                                                                                                8260130594941133 |
                                                                                                                8260141461055220 |
                                                                                                                 8260141461730558
                                                 PO BOX 650638
TXU Energy                                                                                 Electric                100031441379
                                             DALLAS, TX 75265-0638
                                                 PO BOX 827032
UGI Energy Services Llc                                                                    Electric                210000948211
                                            PHILADELPHIA, PA 19182
                                                  PO BOX 15503
UGI Utilities Inc                                                                          Electric                411000707710
                                          WILMINGTON, DE 19886-5503
                                              100 GETTYSBURG PIKE
Upper Allen Township                                                                       Sewer                      700166
                                        MECHANICSBURG, PA 17055-5698
                                                  PO BOX 28003                                              11862X25 | 24211632800001 |
Verizon                                                                              Telephone, Internet
                                         LEHIGH VALLEY, PA 18002-8003                                            652533718000194
                                                 PO BOX 791519
Waste Industries, Inc                                                                      Waste              001378653 | 001378654
                                           BALTIMORE, MD 21279-1519
                                                  PO BOX 13648                                                   14-74465-72009 |
Waste Management                                                                           Waste
                                          PHILADELPHIA, PA 19101-3648                                             18-69188-13009
                                                   PO BOX 4648                                                   9-84922-43002 |
Waste Management Inc of Florida                                                            Waste
                                          CAROL STREAM, IL 60197-4648                                             10-12668-23003
                                       PO BOX 541065 RIM WASTE SYSTEMS
Waste Management of Nevada                                                                 Waste                  9-31357-65002
                                          LOS ANGELES, CA 90054-1065



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Name of Utility Provider                          Address                        Services Provided   Account Number
                                                PO BOX 1648
Waukesha Water Utility                                                                Water            401463000
                                         WAUKESHA, WI 53187-1648
                                               PO BOX 90001
WE Energies                                                                           Electric        4699-088-076
                                        MILWAUKEE, WI 53290-0001
                                            2200 ROBINSON BLVD                                       175869-88608 |
Wilkinsburg-Penn Joint Water                                                          Water
                                        WILKINSBURG, PA 15221-1112                                    175871-88608
                                     XETA TECHNOLOGIES PO BOX 843006
Windstream/Earthlink                                                                 Internet           3246664
                                        KANSAS CITY, MO 64184-3006




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                                      EXHIBIT E

                                    Insurance Policies




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                                                                                    Last 4 digits
                   Coverage                              Carrier                    of Policy No.                   Expiration

 Above/Ungrd Storage Liability                 Ace American Insurance Co.    A004                                                       8/1/2019

 Property Policy                               Fireman's Fund                2266                                                     11/15/2019

 Storm Deductible Buy Down (FL, LA)            Lloyd's of London             0234                                                     11/15/2019
 General Liability / Professional Liability    TDC Specialty Insurance
 (CO)                                          Company                       1801                                                      5/31/2019
 General Liability / Professional Liability    TDC Specialty Insurance
 (FL)                                          Company                       1801                                                      5/31/2019

 LA State Fund                                 N/A                           N/A                                                       5/31/2019
 General Liability / Professional Liability    Steadfast Insurance
 (PA)                                          Company (Zurich)              4702                                                      5/31/2019

 Physicians Realty Insurance                   N/A                           N/A                                                       11/1/2019
 Workers Compensation (CO, FL, LA, NC,
 NV, PA, TX)                                   Sentry Insurance              0181                                                      8/10/2019

 Workers Compensation (WI, OH)                 Sentry Insurance              0181                                                      8/10/2019
                                               AIG, Argonaut, Wesco, XL
 D&O                                           Specialty                     1339, 3210, 1500, 5718                                    2/15/2020
                                               AIG, Underwriters at
                                               Lloyds, Argonaut, Sompo
                                               Insurance, Wesco, XL
 D&O Tail                                      Specialties                                                          6 years after D&O termination
                                                                             8817; 2314; 3103; 1581;
                                                                             4502; 9385; 4502; 1801;
 Corporate Policies / GL/PL Policies / State                                 1801; 7492; 1763; 7404;
 Specific Policies                             Various                       7404; 7403                                                5/31/2019




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